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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    STAGE STORES, INC., et al., 1                                 ) Case No. 20-32564 (CML)
                                                                  )
                           Debtors.                               ) (Jointly Administered)
                                                                  )

         STIPULATION AND AGREED REPORT AND RECOMMENDATION TO
       WITHDRAW THE REFERENCE BETWEEN THE UNITED STATES TRUSTEE
                         AND JACKSON WALKER LLP
                       [RELATES TO ECF NOS. 1216 & 1217]

             WHEREAS on November 2, 2023 the United States Trustee (the “UST”) filed his Motion

for Relief from Judgment or Order Pursuant to Federal Rule of Civil Procedure 60(b)(6) and

Federal Rule of Bankruptcy Procedure 9024 Approving Any Jackson Walker Applications for

Compensation and Reimbursement of Expense [ECF No. 1216] (the “Rule 60 Motion”);

             WHEREAS on the same day the UST filed his Motion for Withdrawal of the Reference

and Referral of Motion for Relief under Rule 60(b)(6) and Related Matters [ECF No. 1217] (the

“Motion to Withdraw”) requesting that Rule 60 Motion be withdrawn pursuant to 28 U.S.C.

§ 157(d);

             WHEREAS the UST and Jackson Walker LLP (“Jackson Walker”) (the UST and Jackson

Walker, collectively, the “Parties”) consent to the withdrawal of the reference of the Rule 60

Motion, together with all matters related to the Rule 60 Motion, to the District Court for the

Southern District of Texas;




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Stage Stores, Inc. (6900) and Specialty Retailers, Inc. (1900). The Debtors’ service address is:
2425 West Loop South, Houston, Texas 77027.


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        WHEREAS the Parties request that the Court recommend withdrawal of the reference, and

issue an order permitting continued discovery on the Rule 60(b) Motion but delay further briefing

on the merits of the Rule 60(b) Motion until after the District Court rules on the Motion to

Withdraw.

        Accordingly, upon the request and agreement of the Parties, it is therefore

RECOMMENDED THAT:

        1.     Pursuant to 28 U.S.C. § 157(d), the Court recommends that the Rule 60 Motion be

withdrawn to the District Court for the Southern District of Texas.

It is ORDERED THAT:

        2.     The Parties may continue to engage in discovery with respect to the Rule 60(b)

Motion.

        3.     Pursuant to Federal Rule of Bankruptcy Procedure 5011, further briefing on the

merits of the Rule 60 Motion shall be stayed pending the District Court for the Southern District

of Texas’s adoption of this report and recommendation or other disposition of the Motion to

Withdraw.



Signed on this ___ day of ________________, 2023.




                                                      United States Bankruptcy Judge




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NORTON ROSE FULBRIGHT US LLP                   KEVIN M. EPSTEIN
                                               UNITED STATES TRUSTEE
By: /s/ Jason L. Boland                        REGION 7, SOUTHERN AND WESTERN
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William R. Greendyke (SBT 08390450)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 24, 2023, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas on all parties registered to receive such service.

                                                     /s/ Jason L. Boland
                                                     Jason L. Boland




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